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LI’ 028
(Rev. 11/04/2019)


                                                                                      r~LEi)
                                PRISONER CIVIL RIGHTS COMPLAINT

                          IN THE UNITED STATES DISTRICT COURT
                                                                                               M~N I1~ 2021
                         FOR THE NORTHERN DISTRICT OF GEORGIA                            ,~,            EN1 (dortc

   Bnan Shawn Santry                                                                    ,ir

JTD#0 1080960

 (Enter above the full name and prisoner
identification number of the plaintiff, GDC
number if a state prisoner.)

                         -vs-                                          1 :21-cv-01374-LMM-JSA

   Fulton Countw et al.,                                               Amendment to filing
Fulton County Jail, Fulton County Sheriff’s
Department, NaphCare. LLC.
(Enter above the full name of the defendant(s).)


                                                 NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the Court should not
contain: an individual’s full social security number or full birth date; the frill name of a person
known to be a minor; or a complete financial account number. A filing may include only: the last
four digits of a social security number; the year of an individual’s birth; a minor’s initials; and the
last four digits of a financial account number.


         Previous Lawsuits
    A.      Have you filed other lawsuits in federal court while incarcerated in any institution?

                                  Yes(   )     No( X)

    B.        If your answer to A is yes, describe each lawsuit in the space below. (If there is more
              than one lawsuit, describe the additional lawsuits on another piece of paper, using the
              same outline.)

                    1.   Parties to this previous lawsuit:
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                          Plaintiff(s):

                          Defendant(s):


                  2.      Court (name the district):



                  3.      Docket Number:         ___________________




                  4.      Name ofjudge to whom case was assigned:

                          5.      Did the previous case involve the same facts?

                                  Yes(    )      No(       )
                  6.      Disposition (Was the case dismissed? Was it appealed? Is it still pending?):



                  7.      Approximate date of filing lawsuit: _________________________________

                  8.      Approximate date of disposition:           _________________________________

II.      Exhaustion of Administrative Remedies
         Pursuant to 28 U.S.C. § 1997e(a), no prisoner civil rights action shall be brought in federal
         court until all available administrative remedies are exhausted. Your case may be dismissed
         if you have not exhausted your administrative remedies.

         A.       Place of Present Confinement:                Released- Was Fulton County Jail

         B.       Is there a prisoner grievance procedure in this institution?

                                  Yes(x )        No(       )
         C.       Did you present the facts relating to your complaint under the institution’s grievance
                  procedure?

                                  Yes(x )        No(       )
         D.       If your answer is YES:
                  I.      What steps did you take and what were the results?
                          I filled out multiple slips (inmate request forms) and sick call slips. I also


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                              tailced with supervisor’s, correctional officers. My slips were given to the
                              day officer and to the sergeant in medical. I filled out slips repeatedly


                               until I would get an appointment (taking weeks). No results for non-medical
                              issues. My wife called & filled out grievances online, with no return of any
                              response. This resulted in continued neglect and medical malpractice overall.
                              My wife called the governor’s office who assisted in getting a letter stating I
                              in fact did not owe child support and that DFHS had no interest or
                              involvement in this arrest/case. My attorney filed and called the jail as well.

                      2.     If your answer is NO, explain why not:           _______________________




Ill.     Parties
         (In item A below, place your name in the first blank and place your present address in the
         second blank.)

         A.          Name of Plaintiff: Brian Shawn Santry



         Address(es): 4132 S. Rainbow Blvd. Unit# 421 Las Vegas, NV 89103



         (In item B below, place the full name of the defendant in the first blank, his/her official
         position in the second blanic, and his/her place of employment in the third blank. Do the
         same for each additional defendant, if any.)

         B.          Defendant(s): Fulton County Jail and various unkown employee’s. Fulton County
                     Sheriff’s Department and various unknown employee’s, known employees are
                     Sheriff’s -Theodore Jackson, Woods, Hicks. Bozich. NaphCare, LLC. Various
                                                    -          -          -                         —


                     unknown staff (employee’s) known employee Julia Wilson, Medical Director.
                                                                      -


         C.
                  Employed as correctional staff, health care agents, nurses, doctors, sheriffs, day officers

                  Sargent’s, transportation officers, correctional officers at and for Fulton County Jail.

                      at Fulton County Jail located at 901 Rice Street. Atlanta Georgia 30318 and Naph
                      Care having a home office address of 2090 Columiana Rd. Suite 4000. Birmingham
                      Al 35216

IV.      Basis for Jurisdiction


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         Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any
         rights, privileges, or immunities secured by the Constitution and [federal laws].” Under
         Bivens v. Six Unknown NamedAgenti ofFederal Bureau ofNarcotics, 403 U.S. 388 (1971),
         you may sue federal officials for the violation of certain constitutional rights.

         A.        Are you bringing suit against (check all that apply):

                   ( ) Federal official (a Bivens claim)
                  ( X) State or local officials (a § 1983 claim)
         B.        Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
                   immunities secured by the Constitution and [federal laws].” 42 U.S.C. § 1983. If
                   you are suing under section 1983, what federal constitutional or statutory right(s) do
                   you claim is/are being violated by state or local officials?

         Cruel and unusual punishment, deliberate indifference, neglect, medical malpractice, police
         misconduct, excessive force, police brutality, discrimination, abuse of office, abuse of
         official capacity, official oppression, false imprisonment, entrapment, illegal search and
         seizure, hate speechlhate crime/bias incident, Monel claim, ADA violation(s) and various
         civil rights violations under the First, Fourth, Eighth and Fourteenth Amendment, and under
         federal law: conspiracy against rights and deprivation of rights under the color of the law.

         C.       Plaintiffs suing under Bivens may only recover for the violation of certain
                  constitutional rights. If you are suing under Bivens, what constitutional right(s) do
                  you claim is/are being violated by federal officials?




V.       Prisoner Status
         Indicate whether you are a prisoner or other confined person as follows (check all that
         apply):

         ( ) Pretrial detainee
         ( ) Immigration detainee
         ( ) Convicted and sentenced state prisoner
         ( ) Convicted and sentenced federal prisoner
         (X) Other (explain) Released via a purge for a different matter for civil contempt of credit
         card debt. This is not for what I was arrested and held for with no warrant or charge(s) ever
         having existed. The Fulton County Jail Records to this day still reflect me as being arrested
         and held for “child support” which I did not and do not owe.

VI.      Statement of Claim
         State here as briefly as possible the facts of your case. Tell the court WHAT you contend
         happened to you, WHEN the incident(s) you complain about occurred, WHERE the


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          incident(s) took place, HOW your constitutional rights were violated, and WHO violated
          them. Do not give any legal arguments or cite any cases or statutes. If you intend to
          allege a number of related claims, number and set forth each claim in a separate paragraph.
          (T.Jse as much space as you need. Attach extra sheets if necessary.)

          1.) Defendants of Fulton County Sheriffs- The Arrest- (WHEN, WHERE, HOW: I was
              brutally and illegally arrested on August 1, 2019 by uncover Fulton County Sheriffs ata
              relative’s home in Marietta, Georgia (Cobb County). I was in town assisting my mother
              in law in moving into her new home. Upon just entering my wife’s car I started it up
              and had just put it in reverse when I suddenly was surrounded by * four unidentified
              men three with guns drawn shouting “get out of the car and get on the ground or we will
              shoot you”. I ask them who they are and what crime had I committed and again was
              instructed that “we will shoot to kill you if you do not get out of the car.
              *V,THO: (Later found out that the three sheriffs are: Woods. Bozich and Hicks. The
              fourth man remains unidentified to date. He remained largely in the background
              lingering around the undercover ear. There was no badge or name ever given and no
              mention of his name or presence in any report(s). I put the car in drive and shut it off.
              Then one large bald officer close to the driver’s door reached for the handle and opened
              the door. He then proceeded to instruct me to give him the keys and the pocketbook bag
              located on the passenger seat (which was my wife’s). I asked who are you what is this
              about. I was told I owed a million dollars in child support, was called “a dead-beat dad”
              and that I was under arrest. I asked for their ID’s and a warrant and was told “we do not
              need one” as they were instructed by Judge Edwards to arrest me. I was then grabbed
              and pulled out from the car and thrown to the ground. I was arguing with them for ID’s,
              who were they with, as there was no police vehicle, no badges shown, no warrant
              provided. I asked where is your Cobb County Sheriff’s ID. I was being wrestled to the
              ground having my feet kicked out from underneath me I fell my left hip against a
              concrete step and railing where I had been dragged to. I was then turned over with a
              knee placed in my back and handcuffed. I remained face down restrained in that
              position for approximately five minutes having difficulty breathing and my head was
              pounding from the pressure. (Continued on additional pages as directed).

VII.     Injuries
          If you sustained injuries related to the events alleged above, describe your injuries and state
         what medical treatment, if any, you required and did or did not receive.
           Injuries sustained during the arrest are damage to left hip and shoulder, SVT and High
           Blood pressures (ie 190/100) which was severe and life threatening left untreated, PTSD.
         Headaches (continued)

VIII. Relief
      State briefly exactly what you want the Court to do for you. Make no legal arguments. Cite
      no cases or statutes. If requesting money damages, include the amounts of any actual and/or
      punitive damages claimed for the acts alleged. Explain the basis for these claims.

         1.) Requesting a (12) twelve-man jury trial against all defendants herein. The Fulton County
         Sheriffs (undercover officers) illegally stopping me while in a car at gun point, arresting me

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         use of excessive force causing injury, detaining by means false arrest done undercover,
         psychologically abusing me with untruths, hate speech and slandering me, medically
         neglecting me by showing a complete and deliberate/reckless and callous indifference, for
         safety and my basic needs. I am asking for their resignation or removal from the field.
         Fulton County Jail including Sheriff Theodore Jackson, Fulton County Correctional
         Officers, Transportation officers and medical staff. I am asking for relief for the inhumane
         treatment, hate speech/crimes committed against me, deplorable living conditions, complete
         lack of care for knee and back injury, cruelty, unusual punishment, neglect of official
         capacity. neglect of office, medical malpractice, medical neglect, denied adequate medical
         care, deliberate indifference, breech of care, permanent physical and psychological damage
         from the injuries sustained due to their actions and inactions in their official capacity.
         NaphCare, LLC as employees/acting medical agents for Fulton County Jail For the ongoing
         medical malpractice, denial of adequate medical care, disregard and neglect leading to
         catastrophic injuries, permanent physical and psychological damage with shortened life span
         due to the heinous nature of their infliction. I am asking for relief for damages incurred
         currently totaling $137,480.00 and Compensatory damages in the amount of$1,862.500.00 I
         am asking for punitive damages of $10,000,000.00 ten million dollars or whatever the court
         deems fit and fair. Total amount of (12) twelve million dollars (Continued on additional
         pages as required~


          Signed this        /0 ~ day of                Mou                                   .,202/.
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STATE OF_________________
COUNTY(CITY)OF___________

I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED ON                        cc—    /o
                            (Date)


Signature of Plaintiff


            State of Nevada
            County of        C_64LM4              ,                           PARM1NOER S. SWATCj~J
                                                                             Not&3/ Public State of Nevath
            Signed or attested before me on   S’7L 0(14 by                                -

                                                                                    County of CIad<
                    ~        ‘C.                            9                 APPT. ND. 09-lOgaa.i
                                                                             Myiipp. Eres July 21,2022
           (Notwy &amp)                       I   —

                             (Signatur~oriaI officer)   -




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(Additional pages (10) as per directions)

Statement of Claim VI. (Continued)

I was then put on my side a further restrained with a knee and again I complained that I

could not breathe in that position. My heart started racing and was in a life threatening


episode of Super Ventricular Tachycardia which I suffer from and told them. I asked for

medical assistance as I could stroke out from it and from the malignant high blood pressure I

have. Denied assistance, I was then placed up against a neighbor’s car in a sitting position

and denied all requests for assistance, for a commanding officer, a warrant and necessary

medical care. Fearing for my life I began screaming for my wife. She appeared at the top of

the stairs with my mother-in-law and step son. The large bald (officer) then threatened them

that they would be arrested if they took any further steps in my direction. One of the

unidentified (officers) then had conversation with my wife at the ton of the stairs. He then

showed his badge to her and she moved a few steps further down and told me they are “with

Fulton County Sheriff’s”. She was trying to talk to the large bald officer regarding my

health issues but he was highly combative, aggressive and agitated. He would not respond


to her requests as well. The officer at the top of the stairs continued talking with my wife but

maintained distance from me. The large bald officer argued with my mother-in-law and step son.

He said he had been there since early morning hours and needed to be done with this. My wife


said she understood his frustration as he apparently waited hours but, asked why they had

not just come to the door if this was all “legally being done”. Why had they had been



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waiting “all that time” and told him that had no bearing on what was happening and

lunch could wait. He became very angry stating to her “you’re pissing me off’. Mv wife


made her way half way down the stairs with the assistance of the officer from up top who

warned her not to mix it up with that officer. She then told the large bald officer that I was

visibly in distress as I was sweating profusely and turning bright red and asked if he should

could consider at least give me my medications. He refused initially, then looked at the

other officer and then said he would do it himself. She (my wife) was allowed to the stair

bottom to garner medications out of “her bag” which they took possession of from her car,

and as she keeps medications for me. She gave it to him and he was going to give it to me

the with disgust on his face turned to her and said “you do it. I’m not going to do this, you

do it”. My wife then gave me the medication. I was left on the hot asphalt up against a

metal car door for approximately 45 minutes before the Cobb County Sheriff’s arrived to


transport me. I Questioned Cobb about the time they took to arrive and was told they were

not previously instructed of the “arrest” and they had no warrant only and order to transport

“for another agency” that was just put on the system. I spent a day and night in Cobb


County Jails Medical Unit. Mv blood pressure was approximately 19 1/103 upon arrival. I

was transported to Fulton County Jail the next day. HOW: My rights were violated by and


through: My rights were violated by/from; False arrest, Illegal stop, search and seizure,

deliberate indifference, neglect, police brutality and gross misconduct, conspiracy against



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rights and deprivation of rights under color of the law. False imprisonment, Discrimination of a

disabled person, Cruel and unusual punishment, hate speechlHate crime/Bias incident, Abuse of

Office, Abuse of Official Capacity. Official Oppression, Violations under the first, fourth, eighth

and fourteen amendment(s). Having been wrongfully arrested and detained previously they were

well aware of my existing medical issues which include prostate cancer and suspected thyroid

cancer.2.) WHERE. WHEN: FULTON COUNTY JAIL: I arrived at Fulton County Jail Intake

on August 2nd 2019 where I spent approximately the next 8 hours being held without any medical

services, food or water provided. When I asked for medication(s) or to see a doctor I was told to

“shut up”. When I asked to call a lawyer, I was told to use the last four numbers provided on my

wrist band as “the pin”. I waited five hours to make the call only to find that the “pin” does not

work. When I complained to the intake officer I was told “eventually it will”. The phone was not

made available again to me during intake to try again. I was being moved to the Medical Unit as I

was already listed as having severe medical issues “disabled”. I received a single blue outfit before

getting there. Once there I did not receive a cell placement. Instead, I was placed in an open area

being given a plastic “boat” that has a thin mat and sheet. No personal care items are provided.

There was no water available as “the cooler isn’t here vet” as told to me by another inmate. I asked

for water and was told “get it out of the shower” or out of the open “toilet” in the unit as I had no

cell assignment. I did not receive any medications until day three (3) of being in the medical unit

although I asked repeatedly. I received no medications for my diabetes or food to control my blood

sugar(s). I was told they were waiting on “verifications for medications” even though Cobb

County Jail Medical unit had supplied it. Mv first medication(s) were given to me only once a day.

I am prescribed my medications to be taken four (4) times a day. I filled out medical slips that went

ignored. Upon getting in touch with my wife she began filling out IA complaints online through the

Jalls website. I then starting getting “all” my medications at once. When I tried to explain that




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these doses could kill me I was told “take them all or. not at all”. I was horribly overdosed to the

point I experienced slurred speech, vertigo, dizziness extremely low heart rate and passing out from

low blood sugar. WHEN. WHERE on or about August 7th, 2019 while in the medical unit of Fulton

County Jail while I just was finishing a phone call with my wife, a fight broke out between two

inmates. HOW: As I tried to get away from the scuffle, I slid through a puddle of water that was

left on the floor causing my right knee to be injured and strained my lower back. WHO: Another

inmate helped me up while the “correctional officer” literally looked the other way. As the situation

escalated the correctional officers then intervened. I was instructed to file “a slip”. So, I filed a

slip for medical care which was not answered and never in fact answered. I then filed a verbal

compliant with the day officer. corporal (bald guy with glasses 35-40 yrs old) and was told by him

to file “Another slip”, which I did. This also went unanswered. My knee bled was swollen, red and

hot causing me to limp. My wife filed another IA report online which did not result in any care for

this issue as well. WHERE: In the 300 Medical Unit of Fulton County Jail, I remained in a plastic

boat from August 2, 2019 during all of which time I was being under dosed and overdosed my

prescribed medications. I filed multiple medical slips as well as my wife filing of IA complaints

through the online website. When I objected to taking the medications all at once or none at all I

was threatened with “you will get no medications if you do not take them.” WHEN: On August
18th, 2019 I was forced into a cell being told to climb into a top bunk. HOW:     The correctional

officer (who told me to file the medical slips) instructed me to climb to a top bunk under my verbal

objections of not being physically able to for multiple reasons. He responded tell me that if I did

not comply, he would call a lieutenant and I would be “lugged” and put into “solitary”. I had an

inmate picked up my mattress pad and then he (the correctional office?’ helped them move my

mattress “pad” into the top bunk. When it was time for lock down the same officer along with

inmates helped me in getting into the top bunk as I could not do it on my own due to my injury, size




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and being highly overmedicated, I needed the assistance of others. The bed was tiny, a childs size

twin bed. Being a large man at 6’ 1 tall and weight of 3 l5lbs, I hung over the sides of the bed and

my feet hung over the ends. Later that night, early morning hours, I was woken to the sound of a

correctional officer yelling what I thought to be at the time, get up. trays up. Being still dazed, not

knowing where I was by the improper dosing of medication I can only when remember being on the

floor in pain and yelling for help. My bunkmate Jerome Dewberry also yelling for help along with

others on the floor after hearing the large sonic boom of me falling. Jerome being wheelchair

bound had his wheelchair next to the bed(s~ that prevented him from getting to me. After what

seemed like an eternity two initial correctional officers opened the cell door, they tell me to “keep

quiet, help is coming”. I remained without any medical assistance bleeding profusely on the floor

for approximately 30-40 minutes. A larger female nurse whom recognized from the daytime shift

arrived with other medical staff. I remember getting onto a stretcher and was taken to the intake

area of the medical unit. The whole way down I was strapped into the stretcher and told to “shut

up” and to “be quiet”. No gauze or anything to help stop the bleeding. I waited in that area with

various medical staff. high ranking officers in white shirts and correctional officers/fulton county

sheriffs. They began telling jokes such as look at this “fat white cracker” by a black sheriff,

another calling me “dead beat dad owes a million in child supuort” “shit. shit I gotta get my cell

phone out, we’re putting this on voutube its gonna go viral”. “Look at that piece of bologna

hanging off his face” another guy said “I’m gonna puke I can’t look at it anymore you can see his

bone”. The black officer who said he was videoing it for your tube said “hey Frankenstein, when

you’re getting your face put back together you should get your fat ass belly a tummy tuck.” At that

time a white shirt officer with a rather large belly, also a black male started screaming “what the

fuck are you all doing, get the fuck out of here, you better hope those body cams are not on”. He

asked the nurse “what the fuck was this man doing in a top bunk being this obese with multiple




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medical issues”. The he said “get him something to cover his head to slow down that bleeding.” I

thanked him while I was crying and shaking, I felt like I was having some type of seizures. When

Grady arrived some twenty minutes later, I then had to wait another twenty minutes or more as no

clearance paper work was done. When I got to Grady I was transferred from the stretcher to another

bed with rails where I was handcuffed to the bed by the ankles and wrists. They medical staff

began running around and asked how long ago had I been injured and I told them about 2 hours.

The doctor argued with the chief resident doctor that I needed to be un-cuffed, it’s a non-mobile bed

and that he urgently needed to administer care saying “he’s lucky to be alive”. I was then un-cuffed

from the non-mobile bed and sheriffs staved posted, armed. I received three layers of staples and

stitches in my forehead area which was also packed with stem cells. I received multiple (3) doses of

blood plasma as I had lost a significant amount of blood while left unattended by the Fulton County

Jail Medical and non-medical attendants. My nose was broken in three places but not reset. I was

blinded in my right eye which has left me permanently blind. My right eye has sight which is

blurry due to optic nerve damaged as well as my left eye. I broke four front teeth and one rear

molar, dislocated my jaw. injured my shoulder and hip both of which need to be replaced. The only

medical care I received was to immediately “stabilize” me from Grady and was returned to Fulton

County Jail less than twenty-four hours later. The doctor said they would never have released me

under normal circumstances. The doctor stated I had a traumatic brain injury, swelling in the brain

and should not be moved for four to five days in order to have a chance of it not being permanent

but being as I was “their property” he had no recourse in the matter. I was then put into a holding

area, left sitting on a cold concrete floor without a blanket for over eight hours now “waiting for

transport”. When I was picked up by two Fulton County sheriffs, one male, one female. The drive

was a hell ride. The driver was aggressively driving taking turns at high rates of speed causing me

to be thrown about the cabin. When I asked to please slow down they laughed and turned the radio




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up. Upon arrival at Fulton County Jail, I asked for a wheel chair because I was very unsteady. The

reply was a half laugh smirk. I then asked if I could at least get a walker and was told “get going”.

I was forced to walk to the medical unit. I was then given “a lower bunk” assignment. I spent the

next day’s depending on my roommate Tony Daniels for food, water and spiritual guidance as I had

no priest, bible or counselor made available to me. I was able to fill out a slip for a walker which

took about two weeks to garner. During this time my low back was becoming more painful each

day. It was later taken away from me because another inmate took it to do “dips”. I could do

nothing to stop it because I was incapacitated. When I told the nurse, she stated it was my

responsibility to keep it within my possession at all times and I would not be getting another one. I

was moved to another medical unit being told to “pack up you’re out”. Thinking I was going home

I gave away anything I had acciuired through my wife purchases. I was put in a “boat on the floor”

then forced to walk upstairs and again, put into a “bunk”. I complained to the day officer, a short

black female officer who stated “there ain’t nothing wrong with you, it’s just a little scar” followed

by “you can walk”. During this time horrendous ordeal my wife was able to hire an attorney, Sean

Whitworth. While he filed a habeas corpus after my injury it went ignored and unanswered to this

day. An emergency ex party motion was also filed for the order from Fulton County Superior Court

to arrest me illegally for child support/alimony was met with the judge’s clerk stating they “are not

inclined to give a hearing”. My attorney having to ask the court if they planned on not following

the rules of the superior court? Hearing the scheduled 10 days later. The judge refused to even

make eye contact with me. called me repeatedly an un-credible witness and shut me down from

speaking. The stipulations of my release where as my attorney put it “something out of a Dickens

novel”. I argued with my attorney that I did not and will not agree to this order. He responded “she

will keep you in there and you will probably die in there”. Mv own attorney refused to ever set foot

in the Fulton County Jail. I did not meet him until before the hearing which only provided me five




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minutes to speak with him. I never agreed to the “new order”. The record(s) were never changed

to reflect the “illegal arrest for child support” but rather just omitted from the “new order”. An

order which violated/violates my civil rights, liberties. From being forced to pay a purge of monies

I did not have, to wearing an ankle monitor that the plaintiff requested, to changing the facts of my

divorce decree and basically never allowing me to leave the state of Georgia essentially kidnapping

me. along with hindering my ability to receive medical care and regardless of my inability to pay

this “credit card debt”. I pleaded to the court that I was disabled but told “you’re not a credible

witness”. My wife. family and friends pushed further into debt by having to borrow monies for my

release. ankle bracelet and monitoring. My attorney fully knowing I could not meet the obligations

of this order simply stating “she (the judge) will keep you in there, do you want to die in there?” and

“just do it for now and we can figure out the rest later.” After approximately another week and my

first visit with a priest while in Fulton County Jail I was released under the terms that violated and

violate my rights. I received medical care, had the ankle bracelet removed in order to do receive

that care and was directed by my attorney Sean Whitworth to meet with his colleague Alan

Manheim to file an appeal. I eventually left Georgia returning to my home state of Nevada. The

order for my arrest for failure to comply still stands today regardless of the fact that I am and have

been a resident of Nevada and that this “FIFA, Judgement” needs to be domesticated here. Also,

attorneys request for a new trial was filed over 18 months ago, still ignored after being “taken under

advisement and utilized for a compliance hearing” along with filings of multiple other motions left

unanswered to date, as well as my case being moved to a “new judge”. I cannot visit family or

friends in Georgia for being at risk of again being illegally detained for “debt”, not child support,

not alimony but credit card debt. I have been denied the ability to “free myself’ under the tactics

utilized by the Fulton County Superior Court and through the Fulton County Jail in this “joint

venture” to incarcerate me for trumped up “criminal contempt and false arrest(s) for alimony and




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child support” as it is NOT but rather a civil issue of credit card debt through a divorce judgement.

Forced to suffer the sanctions, the tools used under the criminal actions to create a debtor’s prison in

Georgia without the remedies which would be afforded to others. The ongoing and continued

violations of my rights going on to this very day even post release from Fulton County Jail.

VII. Injuries (continued) At Fulton County Jail First Fall I received a knee injury, torn
                                                    —            -




meniscus that was untreated and lower back sprain/strain also untreated regardless of my uleas for

medical care along with my wife’s filing online IA reports. I was left with a swollen painful knee,

back pain and inability to walk properly. Adding insult to injury, sleeping in a Plastic Boat and

having to push myself up and down to get in and out of it causing great pain. I have received

partial treatment after release but still requires surgery. I received from my Second fall with

catastrophic injuries at Fulton County Jail: Concussions, traumatic brain injury, (untreated) a head

wound approximately (12) twelve inches long curving across my forehead, treated with stitches,

staples and stem cell. A broken nose in (3) three places, diagnosed partially treated with stents but

surgery is still required, hip and shoulder torn ligament injuries, untreated, received some treatment

on my own after release but still require surgery. Five broken teeth, (untreated) I received partial

treatment after my release on my own, whiplash. (untreated) again receiving treatment on my own

after released, dislocated jaw. (treated) with large hematoma (untreated) led to TMJ which I am

treated for on my own. Complete Blindness in one eye and vision loss in the other, diagnosed but

untreated in Fulton County Jail/Grady Hospital. I have had some treatment on my own after release

but this is a permanent injury to the optic nerve with some possibility of surgery but not promising.

I suffered in the Fulton County Jail from my illegal detention, injuries sustained there and from the

police brutality and injuries that I from them and to this day Post Traumatic Stress Disorder,

Anxiety and severe sleep disorder. I received no care or counseling in Fulton County Jail. I am

receiving care on my own now.         Relief (Continued) 4.) Justice- An injunction during this trial




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and the final mode of relief I am seek is to ask the Federal court is to instruct the Fulton County

Superior court to quash the still existing unlawful arrest order that remains in the Fulton County

Superior Court and with the Fulton County Sheriff’s Department. Jam also asking that they be

directed to correct the “record(s)” in the Fulton County Jail. Cobb County Sheriff’s Department and

retract any statements made to my arrest being made for “child support” and in Sandy Springs

Police listing me on the internet for “child support and alleged con man” as it is defamatory,

slanderous and was and is not true nor correct. I am and have been a resident of Nevada for almost

three years. There is no merit for the continuance for this civil matter in Georgia. Importantly.

without this resolution my rights are further violated. I cannot enter the state of Georgia without

being put at grave risk as I may or will be in the same situation at the same hands of being held in

the Fulton County Jail for failure to pay nothing more than “credit card debt”. Also suffering from

my family name being “slandered” by these untruths. The federal court has in fact found me

indigent. Social Security has found me to be disabled from my 2016 filing and has provided me a

payment for disability and Medicare each month. Mv home state of Nevada has further provided

me with Medicaid for my disabilities. These facts have all been provided to Fulton County Superior

Court and ignored. I am not asking for the debt to be removed what I am asking for is the “illegal”

detention for the debt be stopped. This is and has not been a Georgia matter for over two years.

Further violation of my rights, the Fulton County Superior Court has directed the passport agency to

withhold/deny my passport and/or application for a passport under a “falsehood” of this being a

“criminal action” which it clearly is NOT and by the court and “the Fulton County Jail” refusal to

correct the records. Lastly. I apologize to the court in advance for not being very brief as this is

very detailed matter, working with a brain injury and obviously I am not an attorney.




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